          Case 1:21-cv-00094-RJL Document 54 Filed 04/19/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



CATHOLIC LEGAL IMMIGRATION
NETWORK INC., et al.,

Plaintiffs,

v.
                                               Civil Action No. 21-0094 (RJL)
EXECUTIVE OFFICE FOR
IMMIGRATION REVIEW, et al.,

Defendants.




                             JOINT STATUS REPORT
          Case 1:21-cv-00094-RJL Document 54 Filed 04/19/22 Page 2 of 3




                                            REPORT

        On April 18, 2021, the Court granted the Department of Justice’s request to stay

proceedings and ordered the Department to “submit a status report no later than July 19, 2021

regarding the status of defendants’ review of the Rule at issue” and to “confer with plaintiffs and

include in the status report a proposal for further proceedings.” The parties filed a joint status

report, after which the Court ordered that all proceedings and deadlines in the case remain stayed

and ordered the Department to “submit a status report no later than October 18, 2021 regarding

the status of defendants’ review of the Rule at issue” and to “confer with plaintiffs and include in

the status report a proposal for further proceedings.” The parties filed a joint status report on

October 18, 2021, after which the Court again ordered that all proceedings and deadlines in the

case remain stayed and ordered the Department to “submit a joint status report no later than January

18, 2022 including a proposal for further proceedings.”

        Finally, on January 18, 2022, the parties filed their most recent joint status report, after

which the Court again ordered that all proceedings and deadlines in the case remain stayed and

ordered the Department to “submit a joint status report no later than April 19, 2022 including a

proposal for further proceedings.”

        The Department hereby informs the Court that the Rule at issue in this case, Appellate

Procedures and Decisional Finality in Immigration Proceedings; Administrative Closure, 85 Fed.

Reg. 81,588 (Dec. 16, 2020), remains under review by the Department. The Department has

represented to Plaintiffs that it has made progress in its review, as evidenced by the Rule’s

inclusion in the Executive Branch’s Fall 2021 Unified Agenda of Regulatory and Deregulatory

Actions. See https://www.reginfo.gov/public/do/eAgendaV iewRule?pubId=202110&RIN=1125-

AB18.
          Case 1:21-cv-00094-RJL Document 54 Filed 04/19/22 Page 3 of 3




       The parties have met and conferred by email and agree that the case should remain stayed

to allow the regulatory process to proceed and propose submitting another joint status report in 90

days. The parties further agree that the Court’s stay under 5 U.S.C. § 705 should remain in place

for the duration of the stay in proceedings.



Respectfully submitted,

By:    /s/ Keren Zwick                         By:   /s/ Christina P. Greer
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       Counsel for Plaintiffs                        Counsel for Defendants


Dated: April 19, 2022




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